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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

   NUVASIVE, INC.,                        )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     )             Civil Case No. 6:17-cv-2206-Orl-41GJK
                                          )
   ABSOLUTE MEDICAL, LLC, ABSOLUTE )
   MEDICAL SYSTEMS, LLC, GREG             )             INJUNCTIVE RELIEF SOUGHT
   SOUFLERIS, DAVE HAWLEY, and RYAN )
   MILLER,                                )
                                          )
               Defendants.                )
   _______________________________________)

     FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

          Through its attorneys of record, and for its First Amended Complaint for Injunctive

   Relief and Damages against Absolute Medical, LLC (“Absolute Medical”), Absolute

   Medical Systems, LLC (“AMS”), Greg Soufleris (“Soufleris”), Dave Hawley (“Hawley”),

   and Ryan Miller (“Miller”), Plaintiff, NuVasive, Inc. (“NuVasive”), states that:

                                     NATURE OF ACTION

          1.      Defendants—an exclusive distributor of NuVasive’s products (Absolute

   Medical), that exclusive distributor’s successor in interest (AMS), the owner of those

   distributors (Soufleris), and two of the distributors’ sales representatives (Hawley and

   Miller)—are unfairly competing with NuVasive.

          2.      The exclusive distributor (Absolute Medical) breached numerous contractual

    obligations imposed on it by, without limitation:

                  a.   attempting to terminate the contract between it and NuVasive without
                       cause;
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                  b.   failing to maintain sufficient personnel to service its sales territory;

                  c.   failing to inform NuVasive that it is distributing competitive products;

                  d.   failing to comply with its reasonable non-compete and non-solicit
                       obligations; and

                  e.   failing to ensure that its former sales representatives comply with their
                       reasonable non-compete and non-solicit obligations.

          3.      In an attempt to avoid the exclusive distributor’s contractual obligations, its

   owner (Soufleris)—who is actively seeking to convert NuVasive’s business to one of its

   direct competitors and is personally liable for the exclusive distributor’s contractual breaches

   and his own wrongful acts—formed the exclusive distributor’s successor in interest (AMS),

   transferred the exclusive distributor’s assets to the successor in interest and/or other entities

   he controls, and dissolved the exclusive distributor.

          4.      The exclusive distributor’s sales representatives (Hawley and Miller) are now

   affiliated with the exclusive distributor’s successor in interest. They are selling products

   manufactured by one of NuVasive’s competitors to the same surgeons they serviced on

   behalf of the exclusive distributor.

          5.      NuVasive asks this Court to: (a) issue temporary, preliminary, and permanent

    injunctions which require the exclusive distributor and its successor in interest to comply

    with the contractual obligations imposed on them by the exclusive distributor’s contract

    with NuVasive; (b) issue temporary, preliminary, and permanent injunctions which require

    the sales representatives to comply with their contractual obligations; (c) award it damages

    against the exclusive distributor’s successor in interest, the distributors’ owner and sales




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    representatives; and (d) transfer its claims for damages against the exclusive distributor to

    binding arbitration in San Diego, California.

                                          THE PARTIES

          6.      NuVasive is an innovative medical company that focuses on products and

   processes that treat spinal disease.     It is a citizen of Delaware and California.        It is

   incorporated under the laws of Delaware, and maintains its principal place of business in San

   Diego, California.

          7.      Absolute Medical is a single-member Florida limited liability company.

   Soufleris, a citizen of Florida, is Absolute Medical’s sole member. Thus, Absolute Medical

   is a citizen of Florida that maintains its principal place of business in Heathrow, Florida.

   Absolute Medical’s latest filings with the Florida Secretary of State identify the address of its

   principal office as 382 Devon Place, Heathrow, Florida, which was Soufleris’ residence until

   spring 2017.

          8.      The relationship between NuVasive and Absolute Medical is governed by the

   January 1, 2017 Exclusive Sales Representative Agreement as amended by the July 1, 2017

   Territory Transition Agreement (collectively, the “Agreement”). NuVasive attaches a copy

   of the Agreement as Exhibit 1.

          9.      Absolute Medical is contractually prohibited from, among other things,

   distributing products used to treat spinal disease that are not designed, manufactured, and

   marketed by NuVasive without obtaining NuVasive’s written consent to do so.

          10.     Soufleris utilized his former residence at 382 Devon Place in Heathrow,

   Florida, as the principal address for the companies he owns and/or controls until he sold that




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   property on or about March 31, 2017. He then purchased a one-bedroom condominium

   located at 8901 Lee Vista Blvd., #3003, in Orlando, Florida, on or about September 16, 2017,

   and now utilizes that location as the principal address of his companies including, without

   limitation, AMS, The Absolute Group, Inc., Absolute Ortho Inc., and Blackfin Funds, Inc.

          11.     Upon information and belief, Absolute Medical conducted business out of

   8901 Lee Vista Boulevard from the time Soufleris vacated 382 Devon Place until he

   dissolved it in February 2018.

          12.     On November 30, 2017, Soufleris formed AMS, which is a distributor of

    products used to treat spinal disease that are designed, manufactured, and marketed by,

    without limitation, NuVasive’s competitor, Alphatec Spine, Inc. (“Alphatec”).

          13.     AMS is a single-member Florida limited liability company.           Soufleris, a

   citizen of Florida, is Absolute Medical’s sole member, making AMS a citizen of Florida. Its

   filings with the Florida Secretary of State identify its principal place of business as 8901 Lee

   Vista Blvd., #3003, Orlando, Florida.

          14.     Soufleris formed AMS to avoid certain non-competition and non-solicitation

    obligations that Absolute Medical owes to NuVasive.

          15.     Absolute Medical was solvent when it stopped conducting business. Upon

   information and belief, as part of the process of dissolving Absolute Medical, Soufleris

   transferred significant amounts of money from Absolute Medical’s accounts into other

   businesses, including, without limitation, AMS.

                AMS IS ABSOLUTE MEDICAL’S SUCCESSOR IN INTEREST

          16.     Soufleris is a citizen of the State of Florida who resides at 10525 Cromwell




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   Grove Terrace, Orlando, Florida 32827. He is the sole member, president, and registered

   agent of Absolute Medical and AMS.

          17.     Soufleris exercises complete control and dominion over Absolute Medical,

   AMS, and other companies. In fact, he is the alter ego of those entities.

          18.     Soufleris utilizes the same email address (gsoufleris@absolute-med.com) and

   telephone number (954-868-4492) in his work for AMS that he used for Absolute Medical.

          19.     Hawley was a sales representative for Absolute Medical who is now a sales

   representative for AMS. He is a citizen of the State of Florida who resides at 3004 Sherwood

   Road, Orlando, Florida.

          20.     Hawley utilizes the same email address (dhawley@absolute-med.com) and

   telephone number (941-650-8629) in his work for AMS that he used while affiliated with

   Absolute Medical.

          21.     Miller was a sales representative for Absolute Medical who is now a sales

   representative for AMS. He is a citizen of the State of Florida who, upon information and

   belief, resides at 507 South Hyer Avenue, Orlando, Florida.

          22.     Miller utilizes the same email address (rmiller@absolute-med.com) and

   telephone number in his work for AMS that he used while affiliated with Absolute Medical.

          23.     Soufleris, Hawley, and Miller now sell products on AMS’ behalf that compete

   with NuVasive’s products to the same customers they sold NuVasive’s products on Absolute

   Medical’s behalf.

          24.     Absolute Medical’s executive administrator, Daneri Edelson, now performs a

   similar role for AMS.




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                         JURISDICTION, VENUE, AND GOVERNING LAW

           25.         This Court has original jurisdiction of this case under 28 U.S.C. § 1332

   because this is a civil action between citizens of different states in which the matter in

   controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

           26.         Venue for NuVasive’s request for equitable relief is proper in the Middle

   District of Florida pursuant to 28 U.S.C. § 1391 as: (a) all Defendants reside in this judicial

   district; and (b) a substantial part of the events or omissions giving rise to the claim occurred

   in this district.

           27.         Paragraph 12.01 of the Agreement and paragraph 13 of the Transition

   Agreement provide that they “shall be governed by and construed in accordance with the

   laws of the State of Delaware, without giving any effect to the choice of law principles

   thereunder.”

           28.         Paragraph 12.02 of the Agreement and paragraph 13 of the Transition

   Agreement require NuVasive and Absolute Medical to submit all disputes to binding

   arbitration in San Diego, California, other than requests for injunctive or other equitable

   relief which may proceed pending arbitration.

           29.         Neither the Agreement nor the Transition Agreement requires NuVasive to

   submit its claims against AMS, Soufleris, Hawley, or Miller to arbitration.

                            ALLEGATIONS RELATING TO ALL COUNTS

   A.      NuVasive’s Business

           30.         NuVasive markets its products through its exclusive sales force which consists

   of directly-employed personnel and exclusive sales agents. NuVasive invests substantial




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   funds into providing this sales force with extraordinary, specialized, comprehensive, and

   industry-leading training.    This training supplies NuVasive’s sales force with a deep

   understanding of NuVasive’s products, methodology, trade secrets, and other valuable

   confidential or proprietary information.

          31.     NuVasive’s investments in its sales force allows it to favorably represent the

   company and create goodwill with potential and existing NuVasive customers.                 This

   goodwill, arising from the substantial customer relationships developed between NuVasive’s

   sales force and its customers, belongs to NuVasive.

   B.     Absolute Medical’s Contractual Obligations to NuVasive

          32.     Absolute Medical became an exclusive distributor of NuVasive’s products on

   January 1, 2013. At that time, its relationship with NuVasive was governed by the February

   14, 2013 Exclusive Sales Representative Agreement (the “2013 Agreement”). NuVasive

   attaches a copy of the 2013 Agreement as Exhibit 2.

          33.     Absolute Medical’s principal place of business was 213 Villa Di Este Terrace,

   #105, Lake Mary, Florida, when it entered into the 2013 Agreement. This address was also

   Soufleris’ residence at that time.

          34.     Section 6.13 of the 2013 Agreement required Absolute Medical’s sales

   representatives including, without limitation, Hawley and Miller, to sign “Compliance

   Agreements”     which    contain     confidentiality,   non-solicitation,   and   non-competition

   obligations. Absolute Medical complied with this obligation by requiring Hawley and Miller

   (and others) to sign 2013 Independent Contractor Agreements (the “2013 ICAs”). NuVasive




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   attaches an exemplar copy of the 2013 ICA and copies of Hawley’s and Miller’s signature

   pages to their 2013 ICAs as collective Exhibit 3.

           35.        Section 12 of the 2013 ICAs contains Hawley’s and Miller’s non-solicitation

   and non-competition obligations. These obligations are reasonable and enforceable as their

   temporal restriction is only one year and their geographic restriction is limited to the counties

   in which they provided services to Absolute Medical.

           36.        Neither Absolute Medical nor Hawley or Miller terminated the 2013 ICAs in

   accordance with their terms and conditions. Accordingly, Hawley’s and Miller’s 2013 ICAs

   remain in full force and effect.

           37.        On January 1, 2017, Absolute Medical and NuVasive entered into the

   Agreement, which, among other things, required Absolute Medical to continue exclusively

   distributing NuVasive’s products for five years.

           38.        Section 5.03 of the Agreement requires Absolute Medical to retain a staff of

   sales representatives (“Representative Affiliates”) to promote NuVasive’s products in its

   sales territory.

           39.        Section 5.04 of the Agreement requires Absolute Medical to “promptly advise

   NuVasive of . . . any changes in [Absolute Medical’s] status, organization, personnel, and

   similar matters . . .”

           40.        Like all NuVasive exclusive distributors, Absolute Medical (and Absolute

   Medical’s Representative Affiliates) receives NuVasive’s extraordinary, industry-leading

   training, has access to and knowledge of NuVasive’s trade secrets and other proprietary

   information, and is the face of NuVasive to customers within its sales territory. Accordingly,




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   to protect its legitimate business interests, NuVasive required that Absolute Medical agree to

   certain reasonable confidentiality, non-competition, and non-solicitation obligations as a

   condition of NuVasive allowing Absolute Medical to sell its products.

          41.     Section 5.09(a) of the Agreement requires Absolute Medical to: (a) identify all

   products and services that it and its Representative Affiliates promote; and (b) update that list

   of products and services as needed. It provides:

          Representative has identified in Exhibit G all products and services for which
          Representative or Representative Affiliates (directly or indirectly) act as a
          sales representative, agent, employee, or similar position. Representative
          shall update Exhibit G so that it is complete and accurate at all times and
          Representative agrees that failure to update Exhibit G shall constitute a
          material breach of the Agreement and may result in NuVasive exercising its
          rights under Section 9.03.

          42.     Section 5.09(c) of the Agreement imposes reasonable non-competition and

    non-solicitation obligations on Absolute Medical. It provides:

          During the Term and for a period of twelve (12) months thereafter,
          Representative and Representative Affiliates shall not (i) represent, promote,
          sell, solicit, or otherwise commercialize (directly or indirectly) any products
          or services that are, in NuVasive’s reasonable judgment, competitive with any
          of NuVasive’s products or services (including the Products) without the prior
          written consent of NuVasive, (ii) solicit, encourage, or induce, or cause to be
          solicited, encouraged or induced (directly or indirectly) any Restricted Persons
          within the Territory, to terminate or adversely modify any business
          relationship with NuVasive, or not to proceed with, or enter into, any business
          relationship with NuVasive, nor otherwise interfere with any business
          relationship between NuVasive, and any Restricted Persons within the
          Territory, or (iii) solicit or offer to work (directly or indirectly) or hire any of
          NuVasive’s employees, agents or representatives. The twelve (12) month
          period during which the restrictions of this Section are applicable after the
          Term shall toll for any period of time in which Representative is not in
          compliance herewith.




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           43.    Section 5.09(e) of the Agreement requires Absolute Medical to ensure that its

    Representative Affiliates enter into non-competition and non-solicitation agreements.     It

    provides:

           Representative (i) represents, warrants and covenants that each Representative
           Affiliate engaged by it as of the Effective Date or any time thereafter during
           the Term, will have executed an agreement in form and substance sufficient to
           contractually obligate such person or entity to comply with the restrictions
           contained in this Section 5.09 prior to performing any services for the benefit
           of NuVasive, or Promoting the Products or receiving any information
           regarding the Products (a “Compliance Agreement”), (ii) shall cause each
           Compliance Agreement to name NuVasive as an intended third party
           beneficiary with full right to directly enforce provisions necessary to comply
           with this Section 5.09, and (iii) will vigorously enforce the restrictions
           contained in this Section 5.09 and each Compliance Agreement at its own cost
           (and in the event Representative fails to adequately enforce such restrictions,
           NuVasive may do so at Representative’s cost). Representative shall provide
           NuVasive a copy of each Compliance Agreement with respect to each
           Representative Affiliate immediately upon such person or entity becoming a
           Representative Affiliate. Each Compliance Agreement shall require all sales
           representatives to comply with the terms of Section 5.08 and Section 5.09
           hereof. Representative shall be liable to NuVasive for any breaches by the
           Representative Affiliate of the Compliance Agreement.

           44.    The restrictive covenants described in the preceding two paragraphs are

    reasonable because: (a) their temporal restrictions are limited to the term of the Agreement

    plus the following twelve months after that term concludes; and (b) their geographic

    restrictions are limited to Absolute Medical’s NuVasive sales territory.

           45.    Section 8.01 of the Agreement imposes confidentiality obligations on

    Absolute Medical. It provides:

           Non-Disclosure. Each Party shall not, except as otherwise expressly provided
           herein, use, disclose, disseminate or otherwise allow access to the
           Confidential Information of the other Party to anyone other than to employees
           that have a need to know such Confidential Information to implement this
           Agreement and who are bound by written confidentiality obligations with
           provisions no less stringent than those contained in this Article VIII. Each




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             Party shall prevent unauthorized disclosure or use of the Confidential
             Information of the other Party. Each Party shall execute all documents and
             otherwise shall take all necessary steps to ensure that each be able to enforce
             rights hereunder pertaining to Confidential Information. Each Party shall be
             responsible for any breach of this Section 8.01 by employees, contractors or
             agents.

             46.    Section 10.01 of the Agreement provides, in relevant part:

             Indemnification by Representative. Representative shall indemnify, defend
             and hold harmless NuVasive and its present and former, direct and indirect,
             subsidiaries, affiliates, employees, officers, directors, stockholders, members,
             agents, representatives, and permitted successors and permitted assigns (each
             a “NuVasive Indemnitee”) from and against…subject to Section 10.03, any
             Litigation Costs incurred by a NuVasive Indemnitee while investigating or
             conducting the defense of any Claim, in any such case, solely to the extent
             such Claim is directly based on or directly arises out of or from any breach by
             Representative of any of its representations, warranties and covenants under
             this Agreement…the gross negligence and willful misconduct of
             Representative or any Representative Affiliates…

             47.    Section 12.04 of the Agreement provides:

             Further Assurances. On NuVasive’s request, Representative shall, at its sole
             cost and expense, execute and deliver all such further documents and
             instruments, and take all such further acts, necessary to give full effect to this
             Agreement.

    C.       Absolute Medical’s Breaches its Contractual Obligations

             48.     In a November 27, 2017, email, Soufleris notified NuVasive of Absolute

    Medical’s intent to resign from its “partnership” with NuVasive. NuVasive attaches a copy

    of this email as Exhibit 4.

             49.    The Agreement’s terms do not allow Absolute Medical to terminate it without

    cause.

             50.    Article IX of the Agreement contains the only grounds for Absolute Medical

    to terminate it. None of those grounds are relevant.




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           51.     NuVasive has not terminated the Agreement.

           52.     In a December 5, 2017 email, Absolute Medical’s counsel stated that three

    Representative Affiliates—Hawley, Miller, and Brandon Gottstein (“Gottstein”)—resigned

    from Absolute Medical. NuVasive attaches a copy of this email as Exhibit 5.

           53.     Gottstein worked for Absolute Medical from April 2016 through December

    2017 as a field support representative. He now works for Alphatec as a sales representative.

    Upon information and belief, Absolute Medical required Gottstein to sign an agreement

    which contains reasonable non-compete and non-solicit obligations.

           54.     Hawley, Miller, and Gottstein are soliciting business from, and performing

    services for, the same customers they solicited business and performed services on

    NuVasive’s behalf. The only difference is that they now sell products marketed by Alphatec

    on behalf of AMS.

           55.     Like Soufleris, Hawley, and Miller, Gottstein utilizes the same telephone

    number and email address in his work for AMS that he utilized in his work for Absolute

    Medical.

           56.     Contrary to the obligations imposed on it by Section 5.09(e) of the

    Agreement, Absolute Medical has taken no steps to stop Hawley and Miller from violating

    their contractual obligations not to solicit or service the customers they solicited or serviced

    on Absolute Medical’s behalf. Indeed, Absolute Medical refused to even provide NuVasive

    with copies of their 2013 ICAs and consistently (and erroneously) denied, both informally

    and in discovery responses, the existence of those agreements.




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           57.     Absolute Medical has taken no steps to stop Gottstein from violating his non-

    competition and non-solicitation obligations, and denies that such an agreement exists.

           58.     Since forming AMS, Soufleris has solicited business from at least two of

    Absolute Medical’s customers on behalf of AMS and Alphatec.

           59.     On AMS’ behalf, Miller and Soufleris attended a December 6, 2017 dinner

    with one of Absolute Medical’s surgeon-customers and asked that surgeon-customer to try

    Alphatec’s products.

           60.     On December 12, 2017, Hawley utilized his Absolute Medical email address

    to send a message to Alphatec regarding custom instruments needed by a surgeon to whom

    he (through Absolute Medical) regularly sold NuVasive products. This email:

                   a. provided Alphatec with precise descriptions of the instruments; and

                   b. upon information and belief, promised to send the custom instruments
                      NuVasive previously made for the surgeon to Alphatec so that Alphatec
                      could copy them.

    NuVasive attaches a copy of this email as Exhibit 6.

           61.     Soufleris had dinner with the surgeon-customer referenced in the preceding

    paragraph as recently as the first or second week in May 2018.

           62.     On May 24, 2018, NuVasive discovered custom instruments it created for the

    surgeon-customer referenced in the preceding two paragraphs at Florida Hospital Orlando.

    The custom instruments were sterilized and prepared to be used in a surgery. No NuVasive

    representative requested that the custom instruments be sterilized and prepped for surgery.

    Upon information and belief, Hawley or another AMS sales representative: (a) arranged for

    the custom instruments to be sterilized and prepared for surgery, and (b) intended to use the




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    custom instruments in a surgery where the surgeon-customer would utilize non-NuVasive

    implants.

           63.      To date, Absolute Medical has not updated Exhibit G to the Agreement or

    otherwise informed NuVasive that it is working with competitive companies.

           64.      As a result of Defendants’ violations of their contractual obligations, AMS

    (through Soufleris, Hawley, and Miller) converted nearly all of NuVasive’s business within

    Absolute Medical’s sales territory to Alphatec.

                COUNT I (Breach of Contract—Injunctive Relief against Absolute Medical)

           65.      NuVasive incorporates the allegations contained in paragraphs 1 through 64.

           66.      The Agreement, including, without limitation, Sections 5.09 and 8.01, is a

    valid and enforceable contract.

           67.      The geographic and temporal restrictions contained in Section 5.09 are

    reasonable.

           68.      Even if Section 5.09 were overbroad, the Agreement and Delaware law allow

    the Courts to make reasonable alterations so that it protects NuVasive’s interests.

           69.      NuVasive fully performed all of the obligations imposed on it by the

    Agreement.

           70.      Absolute Medical breached or intends to breach many of the obligations the

    Agreement imposes on it by the Agreement by, without limitation:

                    a. attempting to unilaterally terminate the Agreement;

                    b. not enforcing Hawley’s and Miller’s non-compete and non-solicit
                       obligations or, alternatively, releasing Hawley and Miller from their non-
                       compete and non-solicit obligations without NuVasive’s permission;




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                   c. soliciting business on Alphatec’s behalf; and

                   d. not updating Exhibit G to the Agreement.

           71.     There is a reasonable probability that NuVasive will prevail on the merits of

    this action as Absolute Medical is breaching and/or threatening to breach valid and

    enforceable contractual obligations.

           72.     NuVasive will be irreparably harmed if the Court does not require Absolute

    Medical to specifically perform the obligations imposed on it by the Agreement (or at least

    comply with its non-competition and non-solicitation obligations) as it will, without

    limitation, likely: (a) lose its goodwill with the customers in Absolute Medical’s sales

    territory; and (b) lose sales to those customers. Additionally, Absolute Medical’s failure to

    fully perform its contractual obligations left NuVasive with insufficient sales personnel to

    fully service its business in Absolute Medical’s sales territory, and further assisted AMS’

    illegal conversion of that business.

           73.     No legal remedy can fully compensate NuVasive for the harm Absolute

    Medical’s actions are causing.         NuVasive bargained for a five-year relationship with

    Absolute Medical, and now Absolute Medical works for one of NuVasive’s competitors in

    the same territory it is contractually obligated to work for NuVasive.

           74.     The balance of equities tips in favor of issuing the requested injunction

    because it will not harm Absolute Medical, as Absolute Medical is contractually obligated to

    perform all of the tasks identified in the Agreement.

           75.     Issuing the requested injunction will benefit the public’s interest as the public

    has an interest in seeing contracts enforced as written.




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       COUNT II (Breach of Contract—Damages/Arbitration against Absolute Medical)

           76.    NuVasive incorporates the allegations contained in paragraphs 1 through 75.

           77.    The Agreement is a valid and enforceable contract.

           78.    Absolute Medical breached or intends to breach the obligations imposed on it

    by the Agreement by, without limitation:

                  a. attempting to unilaterally terminate the Agreement;

                  b. not enforcing its sales representatives’ non-competition and non-solicitation
                     obligations;

                  c. falsely representing to NuVasive that its sales representatives are not
                     subject to non-competition and non-solicitation obligations;

                  d. soliciting business on Alphatec’s behalf without updating Exhibit G to the
                     Agreement; and

                  e. converting NuVasive’s business to Alphatec.

           79.    Absolute Medical’s breaches of the Agreement caused NuVasive to incur

    significant damages.

           80.    Pursuant to 9 U.S.C. § 4, this Court should order NuVasive’s breach of

    contract claim for damages against Absolute Medical to arbitration in the manner provided

    for in the Agreement.

        COUNT III (Breach of Contract—Injunctive Relief and Damages against AMS)

           81.    NuVasive incorporates the allegations contained in paragraphs 1 through 80.

           82.    AMS is Absolute Medical’s successor in interest. Soufleris formed AMS—

    which is a continuation and/or a reincarnation of Absolute Medical—to fraudulently avoid

    the contractual obligations Absolute Medical owes NuVasive.




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           83.     Like Absolute Medical, AMS sells products utilized in spine surgeries to

    surgeons and medical facilities.

           84.     Soufleris formed AMS on November 30, 2017—three days after the

    November 27, 2017 email to NuVasive which purported to “resign” Absolute Medical from

    the Agreement.

           85.     Absolute Medical was solvent when Soufleris formed AMS and began the

    process of dissolving Absolute Medical. Upon information and belief, Soufleris transferred

    several hundreds of thousands of dollars from Absolute Medical to AMS or other entities

    before dissolving Absolute Medical.

           86.     Absolute Medical and AMS use the same attorneys.

           87.     Absolute Medical and AMS use the same accounting system.

           88.     Absolute Medical and AMS utilize the same computers, telephones, and other

    office equipment.

           89.     Absolute Medical and AMS have a substantially common identity of owners,

    employees, and independent contractors.

           90.     Soufleris is the sole member, registered agent, and “president” of AMS and

    Absolute Medical.

           91.     Soufleris, at least three of AMS’ sales representatives—Hawley, Miller, and

    Gottstein—and AMS’ executive administrator worked for Absolute Medical immediately

    before joining AMS.




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           92.     AMS’ owner, employees, and independent contractors who were affiliated

    with Absolute Medical utilize the same telephone numbers and email addresses that they

    used to conduct business on Absolute Medical’s behalf.

           93.     Absolute Medical last sold a NuVasive product on or about December 3,

    2017, and claims it sold no Alphatec products.

           94.     AMS never sold NuVasive products, and first sold an Alphatec product on or

    about December 5, 2017.

           95.     Absolute Medical stopped doing business in December 2017, when Soufleris

    began the process of dissolving it.

           96.     AMS sells Aphatec’s products to the same customers Absolute Medical sold

    NuVasive’s products and possesses communications with every surgeon to whom Absolute

    Medical sold NuVasive products in November 2017.

           97.     As Absolute Medical’s successor in interest, NuVasive is entitled to the same

    equitable and legal remedies against AMS that it is entitled to against Absolute Medical.

     COUNT IV (Breach of Contract—Injunctive Relief and Damages against Hawley and
                                      Miller)

           98.     NuVasive incorporates the allegations contained in paragraphs 1 through 64.

           99.     The non-competition and non-solicitation obligations in Hawley’s and

    Miller’s 2013 ICAs are reasonable and enforceable as: (a) their temporal restriction is for

    only one year; and (b) their geographic restriction is limited to the territories they serviced

    for Absolute Medical.

           100.    Neither Hawley nor Miller are complying with the non-competition and non-

    solicitation obligations in their 2013 ICAs.



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           101.    Hawley’s and Miller’s breaches of their 2013 ICAs harmed NuVasive in that

    they allowed AMS to convert the vast majority of the business in Absolute Medical’s sales

    territory to Alphatec. Further, these breaches continue to irreparably harm NuVasive as their

    established relationships with their customers make it more difficult for NuVasive to win

    back the business of those customers.

           102.    No legal remedy can fully compensate NuVasive for the harm Hawley’s and

    Millers’ actions are causing. They are rapidly converting NuVasive’s business in their sales

    territories and will continue to do so if not enjoined.

           103.    The balance of equities tips in favor of enjoining Hawley and Miller from

    violating the non-competition and non-solicitation obligations. Doing so will not harm them

    because Absolute Medical remains able to sell NuVasive’s products for the remainder of the

    Agreement’s five year term. Accordingly, if the injunction issues, Hawley and Miller could

    continue selling products used in spinal surgery (albeit NuVasive’s products through

    Absolute Medical) to the same surgeons and medical facilities they now service in violation

    of their non-competition and non-solicitation obligations. On the other hand, not issuing the

    requested injunction will cause NuVasive irreparable harm as Hawley and Miller will

    continue to unfairly compete with it.

           104.    Issuing the requested injunction will benefit the public’s interest as the public

    has interests in: (a) seeing contracts enforced as written; and (b) fostering fair competition.

           105.    NuVasive is entitled to recover monetary damages against Hawley and Miller,

    and is also entitled to temporary, preliminary, and permanent injunctions which prohibit them

    from violating their 2013 ICAs.




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                          COUNT V (Conversion against Hawley and AMS)

           106.    Upon information and belief, after leaving Absolute Medical and joining

    AMS, Hawley (or other AMS sales representatives) exercised dominion over the custom

    instruments referenced in paragraphs 61 and 63.

           107.    Hawley (or other AMS sales representatives) did not have the right to exercise

    dominion over the custom instruments.

           108.    Hawley’s (or other AMS sales representatives’) conversion of NuVasive’s

    custom surgical instruments harmed NuVasive and caused it to suffer monetary damages.

                       COUNT VI (Statutory Individual Liability against Soufleris)

           109.    NuVasive incorporates the allegations contained in paragraphs 1 through 25

    and 82 through 98.

           110.    Absolute Medical is a limited liability company formed and existing under the

    Florida Revised Limited Liability Company Act, Fla. Stat. §§ 605.0101, et seq.

           111.    As Absolute Medical’s sole member, Soufleris owes Absolute Medical certain

    duties, including without limitation, fiduciary duties of loyalty and care.

           112.    Soufleris breached his fiduciary duties of loyalty to Absolute Medical by,

    without limitation:

               a. dissolving Absolute Medical;

               b. transferring Absolute Medical’s assets to AMS or other companies he owns
                  and/or controls;

               c. forming AMS to avoid Absolute Medical’s obligations to NuVasive and, in
                  effect, compete with Absolute Medical;

               d. precluding Absolute Medical from complying with its contractual obligations
                  to NuVasive; and




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                 e. intentionally subjecting Absolute Medical to liability.

            113.    Soufleris’ actions and failures to act on behalf of Absolute Medical constitute

    breaches and/or failures to perform the duties he owes to Absolute Medical.

            114.    Soufleris’ breaches and/or failures to perform constitute, without limitation,

    transactions from which Soufleris derived improper personal benefits, directly and indirectly.

            115.    Pursuant to the Florida Revised Limited Liability Company Act, § 605.04093,

    Soufleris is personally liable for the monetary damages Absolute Medical owes NuVasive,

    and should be subjected to any injunctive relief the Court issues against Absolute Medical.

                    COUNT VII (Piercing the Corporate Veil against Soufleris)

            116.    NuVasive incorporates the allegations contained in paragraphs 1 through 25,

    82 through 98, and 110 through 115.

            117.    Soufleris dominates and exercises complete control over Absolute Medical

    and AMS to the extent that their independence is non-existent and Soufleris is, in fact, their

    alter ego.

            118.    Soufleris fraudulently and/or improperly organized and used Absolute

    Medical and AMS to mislead and/or defraud NuVasive in an attempt to, without limitation,

    evade Absolute Medical’s existing personal liability to NuVasive.

            119.    Soufleris’ fraudulent and improper use of the corporate form is the proximate

    cause of the damages NuVasive incurred and continues to incur as a result of Absolute

    Medical’s breach of its obligations under the Agreement and AMS’ unfair competition with

    it.




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           120.     This Court should disregard the corporate form and hold Soufleris personally

    liable for any judgment rendered against Absolute Medical and/or AMS in this matter, and

    extend any injunctions it issues against them to Soufleris.

                COUNT VIII (Florida Deceptive and Unfair Trade Practices Act against all
                                        Defendants)

           121.     NuVasive incorporates the allegations contained in paragraphs 1 through 120.

           122.     The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Florida

    Annotated Statues §§ 501.201, et seq., makes unfair methods of competition, unconscionable

    acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or

    commerce unlawful.

           123.     Any person aggrieved by a violation of the FDUTPA may bring a private

    action to obtain declaratory and injunctive relief and any person who has suffered a loss by a

    violation of the FDUTPA may recover damages, as well as attorney’s fees and costs, on

    account of that loss.

           124.     Absolute Medical and Soufleris have violated the FDUTPA by, without

    limitation: (i) unfairly competing with NuVasive by soliciting business on Alphatec’s behalf,

    and (ii) engaging in unfair and/or deceptive acts and practices by, without limitation:

           a.     attempting to unilaterally terminate the Agreement;

           b. not enforcing Hawley’s and Miller’s non-compete and non-solicit obligations or,
              alternatively, releasing Hawley and Miller from their non-compete and non-
              solicit obligations without NuVasive’s permission; and

           c.     soliciting business on Alphatec’s behalf without updating Exhibit G to the
                  Agreement.




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           125.    Upon information and belief, Hawley has violated the FDUTPA by unfairly

    competing with NuVasive and engaging in unfair and/or deceptive acts and practices by

    shipping custom surgical instruments that NuVasive created and owned to Alphatec so that

    Alphatec could create substantially identical instruments.

           126.    Defendants’ violations of the FDUTPA have aggrieved NuVasive and caused

    it to suffer damages.

                  COUNT IX (Tortious Interference with Business Relationships against
                                          Soufleris)

           127.    NuVasive incorporates the allegations contained in paragraphs 1 through 126.

           128.    Business relationships exist between NuVasive and its surgeon-customers

    who purchase and utilize its products via its exclusive distributor Absolute Medical.

           129.    Soufleris possessed actual knowledge of these business relationships at the

    time he began soliciting business from NuVasive’s surgeon-customers.

           130.    Soufleris’ solicitation of NuVasive’s surgeon-customers was, and is, an

    intentional and unjustified interference with NuVasive’s business relationship with its

    surgeon-customers.

           131.    NuVasive has incurred, and continues to incur, damages due to Soufleris’

    tortious interference with NuVasive’s business relationship with its surgeon-customers.

                                      PRAYER FOR RELIEF

           WHEREFORE, NuVasive respectfully requests that this Court:

           A.      Issue a preliminary and final injunction which requires Absolute Medical to

    comply with all of the contractual obligations it owes to NuVasive including, without

    limitation:




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                   1. fulfilling its contractual obligations for the entire term of the Agreement;

                   2. providing NuVasive with copies of the current and former Representative
                      Affiliates’ Compliance Agreements;

                   3. enforcing the former Representative Affiliates’ Compliance Agreements
                      or pay to NuVasive the reasonable costs (including reasonable attorneys’
                      fees) it incurs in prosecuting those actions; and

                   4. not competing with NuVasive within its sales territory.

           B.      Extend any injunction issued to Absolute Medical to cover AMS, Soufleris,

    Miller, and Hawley or, alternatively, temporarily, preliminarily, and permanently enjoin

    AMS, Soufleris, Miller, and Hawley from competing with NuVasive in Absolute Medical’s

    NuVasive sales territory;

           C.      Award NuVasive the reasonable costs, including attorneys’ fees, it incurs in

    obtaining the requested equitable relief;

           D.      Award NuVasive monetary damages against AMS, Miller, and Hawley in the

    amount of at least $8,000,000.00 for Absolute Medical’s, Miller’s, and Hawley’s violations

    of their contractual obligations;

           E.      Compel NuVasive’s claim for monetary damages against Absolute Medical to

    binding arbitration;

           F.      Award any and all relief, including without limitation declaratory relief,

    injunctive relief and monetary damages, attorney’s fees and costs, available to NuVasive

    under the FDUTPA;

           G.      Disregard the corporate form and hold Soufleris personally liable for

    NuVasive’s damages pursuant to the Florida Revised Limited Liability Company Act and/or

    the doctrine of piercing the veil; and



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          H.   Grant any other further and general relief it deems just and proper.


                                             Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

            I hereby certify that on June 5, 2018, a copy of the foregoing was filed electronically.
    Notice of this filing will be sent by operation of the Court’s electronic filing system to all
    parties indicated on the electronic filing receipt. All other parties will be served by regular
    U.S. Mail. Parties may access this filing through the Court’s electronic filing system. The
    party or parties served are as follows:

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